Case 2:04-Cr-20158-BBD Document 46 Filed 06/30/05 Page 1 of 5 Page|D 47

UN|TED STATES DlSTRlCT COURT .. at Eo
WESTERN DlSTRICT OF TENNESSEE am D`c' »
MEMPHls DlvlsloN 05 JUN 30 PH 3,1,9
uNlTEo sTATEs oF AMERch MM gm
eisen us list j earn
_v. 2:o4cR201sa-01-D win OF §§ M.Pi-as

TAMM¥ BR|TT
Ma[y Catherine Jermannl FPD
Defense Attorney
200 Jefferson Ave., Ste. 200
Memphis, TN 38103

 

JUDGMENT |N A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the indictment on August 12, 2004. According|y,
the court has adjudicated that the defendant is guilty of the following offense(s):

Date Count
Title a Section MMM Offense Numbertsl
Conc|uded
18 U.S.C. § 922(9) Fe|on in Possession of a Firearm 04/20/2003 1

The defendant is sentenced as provided in the following pages of this judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Mandatory
Victims Restitution Act of 1996

|T |S FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district within 30 days of any change of name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 12/20/1970 June 22, 2005
Deft’s U.S. Marsha| No.: 19586-076

Defendant’s Maiiing Address:
799 Mississippi Blvd.

Apt. 7

Memphis, TN 38126

QQ:W~/€//

` / BERN\CE B. DoNALd
uNlTED sTATEs DisTRlcT JUDGE

June 30 , 200

Case 2:04-cr-20158-BBD Document 46 Filed 06/30/05 Page 2 of 5 PagelD 48

Case No: 2:04CR20158-01 Defendant Name: Tammy BR|TT Page 2 of 4

PROBAT|ON

The defendant is hereby placed on probation for a term of 3 Years including
6 months home confinement with electronic monitoring

Whi|e on probation, the defendant shall not commit another federal, state, or local
crime and shall not illegally possess a firearm, ammunition, destructive device, or
dangerous weapons. The defendant shall also comply with the standard conditions that
have been adopted by this court (set forth below). |f this judgment imposes a fine or a
restitution obligation, it shall be a condition of probation that the defendant pay any such file
or restitution.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from placement on
probation and at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERVIS|ON

1 . The defendant shall not leave the]udicial district without the permission of the court or probation ofticer;

2. The defendant shall report to the probation ofhcer as directed by the court or probation ocher and shall
submit a truthful and complete written report within the first Hve days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooiing, training, or other acceptable reasons;

5. The defendant shall notify the probation ocher ten{10) days prior to any change in residence or
employment

6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess. use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributed, or administered;

8. The defendant shall not associate with any persons engaged in criminal activityl and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation ocher;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

Case 2:04-cr-20158-BBD Document 46 Filed 06/30/05 Page 3 of 5 PagelD 49

Case No: 2:O4CR20158-01 Defendant Name: Tammy BR|TT Page 3 of 4

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement ofticer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristics, and shall permit
the probation officer to make such notifications and to confirm the defendant’s compliance with such
notification requirement

13. lf this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release

that the defendant pay any such`fine or restitution in accordance with the Schedule of Payments set
forth in the Crirninal Monetary Penalties sheet of this judgment.

ADDIT|ONAL COND|T|ONS OF PROBAT|ON

The defendant shall also comply with the following additional conditions of probation:

1. The defendant shall participate in the Home Detention program for a period
of 6 Months. During this time, defendantwill remain at defendant’s place of
residence except for employment and other activities approved in advance
by the Defendant’s Probation Oflicer. Defendant will be subject to the
standard conditions of Home Detention adopted for use in the Westem
District of Tennessee, which may include the requirement to wear an
electronic monitoring device and to follow electronic monitoring procedures
specified by the Probation Offlcer. Further, the defendant shall be required
to contribute to the costs of services for such monitoring not to exceed an
amount determined reasonable by the Probation Officer.

2. The defendant shall participate in substance abuse testing and treatment
programs as directed by the Probation Officer.

3. The defendant shall cooperate in the collection of DNA as directed by the
Probation Officer.

Case 2:04-cr-20158-BBD Document 46 Filed 06/30/05 Page 4 of 5 PagelD 50

Case No: 2:04CR20158-01 Defendant Name: Tammy BR|TT Page 4 of 4

CR|M|NAL MON ETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). A|l of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Tota| Assessrnent Tota| Fine Totai Restitution
$1 00.00

The Specia| Assessment shall be due immediately.
FINE
No fine imposed.

REST|TUT|ON

No Restitution was ordered.

   

UNITED sATE DSTIIC COURT - WESTERN DISRTCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 46 in
case 2:04-CR-20158 Was distributed by faX, mail, or direct printing on
July 5, 2005 to the parties listed.

 

 

Mary Catherine Jermann
FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Valeria Rae Oliver

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

PDA

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

